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                  United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        ____________
No. 25-5072                                                    September Term, 2024
                                                                            1:25-cv-00429-TSC
                                                            Filed On: May 29, 2025
In re: Elon Musk, in his official capacity, et al.,

               Petitioners


                                           ORDER

       Upon consideration of the notices to supplement the record, it is

      ORDERED that petitioners file a motion to govern further proceedings in this
case by June 9, 2025. Respondents may file a response to the motion to govern by
June 20, 2025, and any reply may be filed by June 27, 2025.




                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                      BY:     /s/
                                                              Laura M. Morgan
                                                              Deputy Clerk
